Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 1 of 21 PageID #: 5
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                           48CO3-1902-CT-000029                                           Clerk
                                        Madison Circuit Court 3                          Madison County, Indiana




STATE OF INDIANA                   )                IN THE MADISON                       COURT
                                   ) SS:
COUNTY OF MADISON                  )                CAUSE NO.

MICHAEL RICHARDSON

       VS.

PAY LESS SUPER MARKETS, INC.


                              COMPLAINT FOR DAMAGES

       Comes now the plaintiff, Michael Richardson, by counsel, Ken Nunn Law Office, and .
for cause of action against the defendant, Pay Less Super Markets, Inc., alleges and says:

        1.    That on or about July 15, 2018, the plaintiff, Michael Richardson, was a customer
at the Pay Less Super Market located at 1900 Applewood Center Drive in Anderson, Madison
County, Indiana.

        2.    That on or about July 15, 2018, the plaintiff, Michael Richardson, slipped and fell
on a slippery substance in the aisle at said location, causing the plaintiff to suffer serious
injuries.

        3.      That it was the duty of the defendant to use ordinary care and diligence to keep
and maintain the said premises in a condition reasonably safe for its intended uses and free
from all defects and conditions which would render the premises dangerous and unsafe for
plaintiff, or present an unreasonable risk of harm to plaintiff in his lawful use of same.

        4.      That it was the duty of the defendant to exercise reasonable care to protect
plaintiff, by inspection and other affirmative acts, from the danger of reasonably foreseeable
injury occurring from reasonably foreseeable use of said premises.

       5.      That it was the duty of the defendant to have available sufficient personnel and
equipment to properly inspect and maintain the aforesaid premises in a condition reasonably
safe for plaintiff and free from defects and conditions rendering the premises unsafe.

       6.     That it was the duty of the defendant to warn plaintiff.of the dangerous and
unsafe condition existing on said premises.

      7.      That the defendant knew or should have known of the unreasonable risk of
danger to the plaintiff but failed either to discover it or to correct it after discovery.



                                        EXHIBIT "A"
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 2 of 21 PageID #: 6




                                               -2-


       8.     That the fall and resultant permanent injuries of plaintiff were caused by the
negligence of the defendant who failed to utilize reasonable care in the inspection and
maintenance of said premises.

      9.     That the aforesaid acts of negligence on the part of the defendant were the
proximate cause of the injuries sustained by the plaintiff.

        10. That the plaintiff has incurred medical expenses and other special expenses, and
will incur future medical expenses, lost wages and other special expenses, as a direct and
proximate result of defendant's negligence.

       WHEREFORE, the plaintiff demands judgment against the defendant for permanent
injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses
and other special expenses, for future medical expenses, lost wages and other special expenses,
court costs, and all other proper relief in the premises.

                                   KEN NUNN LAW OFFICE


                                   BY:    /s/Rom By.ron
                                          Rom Byron, #21268-49
                                          KEN NUNN LAW OFFICE
                                          104 South Franklin Road
                                          Bloomington, IN 47404
                                          Phone: (812) 332-9451
                                          Fax: (812) 331-5321
                                          E-mail: romb a,kemiumi.com


                            REQUEST FOR TRIAL BY JURY

       Comes now the plaintiff, by counsel, Ken Nunn Law Office, and requests that this

matter be tried by jury pursuant to Trial Rule 38.
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 3 of 21 PageID #: 7




                                      -3-

                            KEN NUNN LAW OFFICE



                            BY:   /s/Rom Byron
                                  Rom Byron, #21268-49
                                  KEN NUNN LAW OFFICE
                                  104 South Franklin Road
                                  Bloomington, IN 47404
                                  Phone: (812) 332-9451
                                  Fax: (812) 331-5321
                                  E-mail: romb(a~kennunn.com




Rom Byron, #21268-49
Ken Nunn Law Office
104 South Franklin Road
Bloomington, IN 47404
Telephone: 812-332-9451
Fax Number: 812-331-5321
Attorney for Plaintiff
                                                                        Filed: 2/21/2019 1:44 PM
                           48C03-1902-CT-000029
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 4 of 21 PageID #: 8             Clerk
                                          Madison Circuit Court 3                   Madison County, Indiana




                                   APPEARANCE FORM (CIVIL)
                                               Initiating Party



         CAUSE NO:


  1.     Name of first initiating party                Michael Richardson
                                                       P.O. Box 602
                                                       Anderson, IN 46015


  2.     Telephone of pro se initiating party          NA


  3.     Attorney information (as applicable           Rom Byron #21268-49
         for service of process)                       Ken Nunn Law Office
                                                       104 South Franklin Road
                                                       Bloomington, IN 47404
                                                       PHONE:        812 332-9451
                                                       FAX:          812 331-5321
                                                       Email: rom@kennunn.com


  4.     Case type requested                           CT (Civil Tort)


  5.     Will accept FAX service                       YES


  6.     Are there related cases                       NO


  7.     Additional information required by
         State or Local Rules


  Continuation of Item 1 (Names of initiating          NAME:
  parties)                                             NAME:


  Continuation of Item 3 (Attorney information
  as applicable for service of process)
                                                                             Filed: 2/21/2019 1:44 PM
                                48C03-1902-CT-000029
     Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 5 of 21 PageID #: 9             Clerk
                                                                  Madison Circuit Court 3                                                  Madison County, Indiana


                                  CIRCUIT/SUPERIOR COURTS FOR THE COUNTY OF MADISON
                                                    STATE OF INDIANA
                                        GOVERNMENT CENTER, 16 EAST 9TH STREET
                                                ANDERSON, INDIANA 46016

Michael Richardson
                                            Plaintiff(s)
                     VS.                                                                  No.
Pay Less Super Markets, Inc.
                                            Defendant(s)
                                                                        SUMMONS
The State of Indiana to Defendant: Pay Less Super Markets, Inc., c/o Corporation Service Company, 135 North
Pennsylvania Street, Suite 1610, Indianapolis, IN 46204
          You have been sued by the person(s) named "plaintiff" in the court stated above.
       The nature of the suit against you is stated in the complaint which is attached to this document. It also states the
demand which the plaintiff has made and wants from you.
         You must answer the complaint in writing, by you or your attorney, within Twenty (20) days, commencing the day
after you receive this summons, or judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.
         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.
                                                                                                                              MJS
Date:   2/21/2019
                                                                                  CLERK, MADISON CIRCUIT/SUPERIOR COURTS
ROM BYRON, #21268-49
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON, IN 47404
TELEPHONE: (812)332-9451

                                                 ACKNOWLEDGMENT OF SERVICE OF SUMMONS

          A copy of the above summons and a copy of the complaint attached thereto were received by me at                 t his   day of                 ,
2019.

                                                                                          SIGNATURE OF DEFENDANT
PRAECIPE: I designate the following mode of service to be used by the Clerk.

XX        By certified or registered mail with return receipt to above address.

G         By Sheriff delivering a copy of summons and complaint personally to defendant or by leaving a copy of the summons and complaint at his dwelling
          house or usual place of abode with some person of suitable age and discretion residing therein.

G         By                  d elivering a copy of summons and complaint personally to defendant or by leaving a copy of the summons and complaint at
          his dwelling house or usual place of abode.

G         By serving his agent as provided by rule, statute or valid agreement, to-wit:

                                                                                          KEN NUNN LAW OFFICE

                                                                                          BY:    /s/ ROM BYRON
                                                                                                  ATTORNEY FOR PLAINTIFF
   Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 6 of 21 PageID #: 10


CERTIFICATE OF MAILING: I certify that on the day of                         , 2 019, I mailed a copy of this summons and a copy of the complaint to each of the
defendant(s) by (registered or certified mail requesting a return receipt signed by the addressee only, addressed to each of said defendant(s) at the address(es)
furnished by plaintiff.

           Dated this    day of              , 2 019.



                                                                                           CLERK, MADISON COUNTY

RETURN OF SERVICE OF SUMMONS BY MAIL: I hereby certify that service of summons with return receipt requested was mailed on the                           day of
      , 2 019, and that a copy of the return of receipt was received by me on the day of , 2 019, which copy is attached herewith.


                                                                                           CLERK, MADISON COUNTY

CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL: I hereby certify that on the day of                                          , 2 019, I mailed a copy of
this summons and a copy of the complaint to the defendant(s) by (registered or certified) mail, and the same was returned without acceptance this      day of
         , 2 019, and I did deliver said summons and a copy of the complaint to the Sheriff of Madison County, Indiana.

           Dated this    day of                , 2 019.


                                                                                           CLERK, MADISON COUNTY

RETURN OF SUMMONS: This summons came to hand on the day of                    , 2 019, and I served the same on the day of            , 2019.
       1.     By mailing a copy of the summons and complaint personally to                address                                              .
       2.     By delivering a copy of summons and complaint personally to                                          .
       3.     By leaving a copy of the summons and complaint at                                       t he dwelling house or usual place of abode of
              defendant:                                   (Na me of Person) and by mailing by first class mail a copy of the summons on the day
              of              , 2 019 to                          h is last known address.
       4.     By serving his agent as provided by rule, statute or valid agreement to-wit:
                  .
       5.     Defendant cannot be found in my bailwick and summons was not served.

           And I now return this writ this   day of            , 2 019.


                                                                                           SHERIFF or DEPUTY

RETURN ON SERVICE OF SUMMONS: I hereby certify that I have served the within summons:

           1.         By delivery on the day of                    , 2 019 a copy of this summons and a copy of the complaint to each of the within named
                      defendant(s)                                                                  .
           2.         By leaving on the       day of                , 2 019 for each of the within named defendant(s)
                       , a copy of the summons and a copy of the complaint at the respective dwelling house or usual place of abode with
                             a person of suitable age and discretion residing therein whose usual duties or activities include prompt communication of such
                      information to the person served.
           3.                                                                                         a nd by mailing a copy of the summons without the
                      complaint to                                              at                                         t he last known address of defendant(s).
           All done in Madison County, Indiana.
Fees: $
                                                                                           SHERIFF or DEPUTY
                                                           Page




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        Return Receipt Article                                                                           Number                                                                                                       '
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                                                Circuit Court




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                               Madison




        3.   Service Type:                                                                    CERTIFIED MAIL
        4.      Restricted Delivery? (Extra Fee)                                                                                D Yes                     'C   L-ET‘M’   k
             RLY-MPB Document 1-1




‘

        1.   Article                                                            Addressed               to:
                                                                  Pay Less Super Markets, Inc.
                                                                  c/o Corporation Service Company
                                                                  135 North Pennsylvania Street, Suite‘
        PS Form



                                                                  Indianapolis, IN
                                                                                                              M        46204
                                                                  IIImIIInIII.“ II...I,””.m”II.”|I.|..I.|I|."I.I,I.III”.
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19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page    8 of 21 Page
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                      KEN NUNN LAW OFFICE
                      FRANKLIN PL
                      104 S FRANKLIN RD
                      BLOOMINGTON                  IN    47404—5295


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                                                                           Filed: 3/7/2019 1:49 PM
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 9 of 21 PageID   #: 13Circuit Court 3
                                                                    Madison County
                                                                                                       Madison County, Indiana




 STATE OF INDIANA                  )                        IN THE MADISON CIRCUIT COURT
                                   ) SS:
 COUNTY OF MADISON                 )                        CAUSE NO.: 48C03-1902-CT-000029

 MICHAEL RICHARDSON,                               )
                                                   )
                  Plaintiff,                       )
                                                   )
          vs.                                      )
                                                   )
 KROGER LIMITED PARTNERSHIP I d/b/a                )
 PAY LESS SUPER MARKETS, INC.,                     )
                                                   )
                  Defendant.                       )


                      E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

 1.   The party on whose behalf this form is being filed is:

                  Initiating:              Responding: XX                    Intervening:    ; and

 the undersigned attorney and all attorneys listed on this form now appear in this case for the      following
 parties:

      Name of parties      Kroger Limited Partership I d/b/a Pay Less Super Markets, Inc.

 Address of party (see Question #6 below if this case involves a protection from abuse order, a
 workplace violence restraining order, or a no-contact order)



 Telephone # of party____________________________________________________________
 (List on continuation page additional parties this attorney represents in this case.)

 2.   Attorney information for service as required by Trial Rule 5(B)(2):

          Name: Jeffrey S. Zipes                           Attorney Number: 15303-29
          Address: Coots, Henke & Wheeler, P.C.            Telephone:     317 844-4693
                   255 East Carmel Drive                   FAX:           317 573-5385
                   Carmel, Indiana 46032-2689        Computer Address: jzipes@chwlaw.com
                 (List on continuation page additional attorneys appearing for above party)


 IMPORTANT: Each attorney specified on this appearance:

      (a) certifies that the contact information listed for him on the Indiana Supreme Court Roll of Attorneys
          is current and accurate as of the date of this Appearance;
      (b) acknowledges that all orders, opinions, and notices from the court in this matter that are
          served under Trial Rule 86(G) will be sent to the attorney at the email address(es) specified
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 10 of 21 PageID #: 14



           by the attorney on the Roll of Attorneys regardless of the contact information listed above for
           the attorney; and
       (c) understands that he is solely responsible for keeping his Roll of Attorneys contact information
           accurate, see Ind. Admis. Disc. R. 2(A).

  Attorneys can review and update their Roll of Attorneys contact information on the Clerk of Courts Portal
  at http://portal.courts.in.gov.

  3.    This is a   CT     case type as defined in administrative rule 8(B)(3):

  4.   This case involves child support issues. Yes:    No: X (If yes, supply social security
  numbers for all family members on separately attached document filed as confidential
  information on light green paper. Use Form TCM-TR3.1-4.)

  5. This case involves a protection from abuse order, a workplace violence restraining order, or
  a no-contact order. Yes:        No      XX (If Yes, the initiating party must provide an address
  for the purpose of legal service but that address should not be one that exposes the whereabouts
  of a petitioner.) The party shall use the following address for purposes of legal service:

                          Attorney’s address
                          The Attorney General Confidentiality program address
                          (Contact the Attorney General at 1-800-321-1907 or e-mail address is
                          confidential@atg.state.in.us).
                          Another address (provide)

  This case involves a petition for involuntary commitment. Yes:                  No: X__

  6.      If Yes above, provide the following regarding the individual subject to the petition for
  involuntary commitment:

                    a.    Name of the individual subject to the petition for involuntary commitment
                          if it is not already provided in #1 above:
                           ____________________________________________

                    b.    State of Residence of person subject to petition: _______________

                    c.    At least one of the following pieces of identifying information:
                          (i)     Date of Birth ___________
                          (ii)    Driver’s License Number ______________________
                                  State where issued _____________ Expiration date __________
                          (iii)   State ID number ____________________________
                                  State where issued _____________ Expiration date ___________
                          (iv)    FBI number __________________________
                          (v)     Indiana Department of Corrections Number _________________
                          (vi)    Social Security Number is available and is being provided in an
                                  attached confidential document. Yes ____ No ____
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 11 of 21 PageID #: 15



  7.     There are related cases.                 Yes:                 No: X (If yes, list on continuation page)

  8.     Additional information required by local rule: ____________________________________

  9. There are other party members represented by undersigned counsel: Yes:                                No:     X   (If
  yes, list on continuation page)

  10. This form has been served on all other parties. Certificate of Service is attached: Yes:X No:



                                                                         /s/ Jeffrey S. Zipes
                                                                       Jeffrey S. Zipes       15303-29
                                                                       Attorney for Defendant,
                                                                       Kroger Limited Partnership I d/b/a Pay Less Super
                                                                       Markets, Inc.


                                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on March 7, 2019, I electronically filed the foregoing
  document using the Indiana E-filing System (“IEFS”). I certify that the foregoing person was
  electronically served a copy of the foregoing document:

                                                 Rom Byron
                                                 KEN NUNN LAW OFFICE
                                                 104 South Franklin Road
                                                 Bloomington, IN 47404
                                                 romb@kennunn.com


                                                                                /s/ Jeffrey S. Zipes
                                                                              Jeffrey S. Zipes




  Jeffrey S. Zipes     # 15303-29
  COOTS HENKE & WHEELER, P.C.
  255 East Carmel Drive
  Carmel, IN 46032
  (317) 844-4693
  jzipes@chwlaw.com
  P:\JSZ\KROGER\RICHARDSON, MICHAEL\Pleadings\Kroger Appearance.docx
                                                                             Filed: 3/7/2019 1:49 PM
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 12 of 21 Madison
                                                                     PageID     #: 16Circuit Court 3
                                                                             County
                                                                                              Madison County, Indiana




  STATE OF INDIANA              )                      IN THE MADISON CIRCUIT COURT
                                ) SS:
  COUNTY OF MADISON             )                      CAUSE NO.: 48C03-1902-CT-000029

  MICHAEL RICHARDSON,                 )
                                      )
               Plaintiff,             )
                                      )
         vs.                          )
                                      )
  KROGER LIMITED PARTNERSHIP I        )
  d/b/a PAY LESS SUPER MARKETS, INC., )
                                      )
               Defendant.             )

                     MOTION FOR EXTENSION OF TIME TO ANSWER
                       PLAINTIFF’S COMPLAINT FOR DAMAGES

         Defendant, Kroger Limited Partnership I d/b/a Pay Less Super Markets, Inc., incorrectly

  sued as Pay Less Super Markets, Inc., by counsel, respectfully moves the Court for an extension

  of time within which to answer Plaintiff’s Complaint. In support of said Motion, Defendant states

  as follows:

         1.      This matter was initially filed by Plaintiff on or about February 21, 2019, and

  service was perfected on or about February 28, 2019. Defendant’s responsive pleading is,

  therefore, currently due on or before March 22, 2019.

         2.      Undersigned counsel has just been retained in this matter to represent the

  Defendant’s interests.

         3.      Undersigned counsel requires an additional thirty (30) days to investigate the facts

  and circumstances surrounding this incident in order to prepare an adequate answer and responsive

  pleading.
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 13 of 21 PageID #: 17



              WHEREFORE, the Defendant, Kroger Limited Partnership I, requests a thirty (30) day

  extension of time, through and including, April 22, 2019, within which to file its responsive

  pleading to the Plaintiff’s Complaint, and for all other relief just and proper in the premises.

                                                                                      Respectfully Submitted,

                                                                                      COOTS, HENKE & WHEELER, P.C.


                                                                                        /s/ Jeffrey S. Zipes
                                                                                      Jeffrey S. Zipes        #15303-29
                                                                                      Attorney for Defendant,
                                                                                      Kroger Limited Partnership I d/b/a Pay Less
                                                                                      Super Markets, Inc.



                                                        CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on March 7, 2019, I electronically filed the foregoing
  document using the Indiana E-filing System (“IEFS”). I certify that the foregoing person was
  electronically served a copy of the foregoing document:

                                                   Rom Byron
                                                   KEN NUNN LAW OFFICE
                                                   104 South Franklin Road
                                                   Bloomington, IN 47404
                                                   romb@kennunn.com


                                                                                        /s/ Jeffrey S. Zipes
                                                                                      Jeffrey S. Zipes

  Jeffrey S. Zipes     # 15303-29
  COOTS HENKE & WHEELER, P.C.
  255 East Carmel Drive
  Carmel, IN 46032
  (317) 844-4693
  jzipes@chwlaw.com
  P:\JSZ\KROGER\RICHARDSON, MICHAEL\Pleadings\Motion for Extension of Time.docx




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                                                                           Filed: 4/11/2019 9:25 AM
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 14 of 21 Madison
                                                                     PageID    #: 18Circuit Court 3
                                                                             County
                                                                                            Madison County, Indiana




  STATE OF INDIANA              )                      IN THE MADISON CIRCUIT COURT
                                ) SS:
  COUNTY OF MADISON             )                      CAUSE NO.: 48C03-1902-CT-000029

  MICHAEL RICHARDSON,                           )
                                                )
                 Plaintiff,                     )
                                                )
         vs.                                    )
                                                )
  PAY LESS SUPER MARKETS, INC.,                 )
                                                )
                 Defendant.                     )

        DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES

         Defendant, Pay Less Super Markets, Inc. (“Kroger”), by counsel, and for its Answer to

  Plaintiff’s Complaint for Damages, alleges and states as follows:

         1. Kroger admits the facts stated in rhetorical paragraph one (1) of Plaintiff’s

  Complaint for Damages.

         2. Kroger is without knowledge or information sufficient to either admit or deny the

  allegations contained in rhetorical paragraph two (2) of Plaintiff’s Complaint for Damages.

         3. Rhetorical paragraph three (3) of Plaintiff’s Complaint for Damages states a conclusion

  of law requiring no response thereto. In the event this rhetorical paragraph makes factual

  allegations against Kroger, it herein denies the same.

         4. Rhetorical paragraph four (4) of Plaintiff’s Complaint for Damages states a conclusion

  of law requiring no response thereto. In the event this rhetorical paragraph makes factual

  allegations against Kroger, it herein denies the same.

         5. Rhetorical paragraph five (5) of Plaintiff’s Complaint for Damages states a conclusion

  of law requiring no response thereto. In the event this rhetorical paragraph makes factual

  allegations against Kroger, it herein denies the same.
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 15 of 21 PageID #: 19



          6. Rhetorical paragraph six (6) of Plaintiff’s Complaint for Damages states a conclusion

  of law requiring no response thereto. In the event this rhetorical paragraph makes factual

  allegations against Kroger, it herein denies the same.

          7. Kroger denies the allegations contained in rhetorical paragraph seven (7) of Plaintiff’s

  Complaint for Damages.

          8. Kroger denies the allegations contained in rhetorical paragraph eight (8) of Plaintiff’s

  Complaint for Damages.

          9. Kroger denies the allegations contained in rhetorical paragraph nine (9) of Plaintiff’s

  Complaint for Damages.

          10. Kroger denies the allegations contained in rhetorical paragraph ten (10) of Plaintiff’s

  Complaint for Damages.

          Wherefore, Defendant, Pay Less Super Markets, Inc., by counsel, respectfully prays that

  Plaintiff take nothing by way of his Complaint for Damages, for costs, and for all other just and

  proper relief.

                                     AFFIRMATIVE DEFENSES

          1.       Any and all allegations contained in Plaintiff’s Complaint for Damages not

  specifically admitted or denied by the Defendant are now specifically denied.

          2.       To the extent that the Indiana Comparative Fault Act applies in this case, Plaintiff

  is to be apportioned fault for any damages he may have sustained.

          3.       Subject to the completion of discovery, there may be nonparties as that term is

  defined in the Indiana Comparative Fault Act whose conduct caused or contributed to

  cause Plaintiff’s alleged damages to whom fault should be apportioned.

          4.       Subject to the completion of discovery, Defendants assert that Plaintiff failed to


                                                     2
Case 1:19-cv-01768-RLY-MPB Document 1-1 Filed 05/01/19 Page 16 of 21 PageID #: 20



  mitigate his damages.

             5.          Plaintiff has failed to state a claim upon which relief can be granted.

             6.          Defendant reserves the right to assert additional affirmative defenses as the same

  become apparent or otherwise disclosed during the course of discovery.

                                                       JURY TRIAL REQUEST

             Defendant, Pay Less Supermarkets, Inc., requests that this matter be tried by a jury.


                                                                    Respectfully Submitted,

                                                                    COOTS, HENKE & WHEELER, P.C.


                                                                      /s/ Jeffrey S. Zipes
                                                                    Jeffrey S. Zipes         #15303-29
                                                                    Attorney for Defendant,
                                                                    Pay Less Super Markets, Inc.

                                                     CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on April 11, 2019, I electronically filed the foregoing
  document using the Indiana E-filing System (“IEFS”). I certify that the foregoing person was
  electronically served a copy of the foregoing document:

                                                Rom Byron
                                                KEN NUNN LAW OFFICE
                                                104 South Franklin Road
                                                Bloomington, IN 47404
                                                romb@kennunn.com

                                                                      /s/ Jeffrey S. Zipes
                                                                    Jeffrey S. Zipes

  Jeffrey S. Zipes     # 15303-29
  COOTS HENKE & WHEELER, P.C.
  255 East Carmel Drive
  Carmel, IN 46032
  (317) 844-4693
  jzipes@chwlaw.com
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